
Russ Ferguson, III, James P. Cooney, III, Mark J. Horoschak, Brian Allen Hayles, Debbie W. Harden, Michael P. Fischer, Matthew Tilley, Charlotte, Hampton Y. Dellinger, Attorneys at Law, For The Charlotte-Mecklenburg Hospital Authority
Sarah Motley Stone, Attorney at Law, Charlotte, For The Charlotte-Mecklenburg Hospital Authority, d/b/a Carolinas Healthcare System
Reynolds Michael Elliot, Attorney at Law, For DiCesare, Christopher, et al.
Linwood Jones, Attorney at Law, Raleigh, For N.C. Hospital Association
The following order has been entered on the motion filed on the 3rd of June 2019 by Plaintiffs to admit Alexander L. Simon Pro Hac Vice:
"Motion Allowed by order of the Court in conference, this the 11th of June 2019."
